     Case 3:19-md-02885-MCR-HTC Document 4060 Filed 05/23/24 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                      Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:                  Judge M. Casey Rodgers
All Cases                                  Magistrate Judge Hope T. Cannon


                                     ORDER

      Pursuant to the Parties’ request, the U.S. Court of Appeals for the Eleventh

Circuit dismissed the Petition for Permission to Appeal in 3M Company v. Christopher

Aaby, et al., Appeal Number 23-90001-A, on May 22, 2024. The Parties now jointly

request this Court vacate its December 22, 2022 Order (ECF No. 3610), which was the

subject of the appeal. See ECF No. 4058. Accordingly, the Court’s Order dated

December 22, 2022 (ECF No. 3610) is hereby VACATED.

      SO ORDERED, on this 23rd day of May, 2024.


                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
